                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION



 LISA BENSON COOPER,

                              Plaintiff,

 vs.                                                 Case No. 17-cv-00041-BP

 KSHB-TV 41, et al.,

                              Defendants.



        DEFENDANT’S MOTION IN LIMINE TO EXCLUDE REFERENCES TO
             INADMISSIBLE EVIDENCE OFFERED BY PLAINTIFF

       Defendant Scripps Media, Inc., by and through its undersigned counsel, hereby presents

its Motions in Limine and Brief in Support.




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    I.     INTRODUCTION

           Defendant moves this Court to instruct counsel for Plaintiff, Plaintiff, and Plaintiff’s

    witnesses not to mention within the hearing of the jury panel, in voir dire examination, upon any

    reading of the pleadings, the statement of the case, upon interrogation of witnesses, by argument,

    or by objection in the presence of the jury any of the matters hereinafter set forth, either directly

    or indirectly, until such matter has been called to the Court’s attention out of the presence and

    hearing of the jury, and a ruling had by the Court as to the competency of the material. It is further

    moved that counsel for Plaintiff be instructed to apprise each of Plaintiff’s witnesses including

    Plaintiff, of the content of any Order relating to this Motion and that such Order must not be

    inadvertently violated by any witness.

           Therefore, to ensure that the jury is not influenced or misled by such evidence, Defendant

    requests an Order prior to trial directing Plaintiff, her counsel, and her witnesses from testifying

    or presenting evidence regarding:


   DEFENDANT’S    MOTION    IN   LIMINE   NO.   1   TO    EXCLUDE
    REFERENCES TO ALLEGED MISCONDUCT BY EMPLOYEES WHO ARE NOT
    SIMILARLY SITUATED, INCLUDING BUT NOT LIMITED TO REFERENCES TO
    SOCIAL MEDIA ACTIVITY WHERE NO COMPLAINTS WERE RECEIVED BY
    DEFENDANT AND THE CONDUCT DID NOT INVOLVE RACE-BASED OR SEX-
    BASED STEREOTYPING

   DEFENDANT’S    MOTION   IN   LIMINE                            NO.       2      TO       EXCLUDE
    REFERENCES TO POST-RENEWAL ACTIVITY

   DEFENDANT’S MOTION IN LIMINE NO. 3 TO EXCLUDE REFERENCES TO
    DISMISSED HOSTILE WORK ENVIRONMENT ALLEGATIONS

   DEFENDANT’S MOTION IN LIMINE NO. 4 TO EXCLUDE REFERENCES TO
    PLAINTIFF HAVING BEEN ACCUSED AND EXONERATED OF CREATING A
    HOSTILE WORK ENVIRONMENT




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   DEFENDANT’S MOTION IN LIMINE NO. 5 TO EXCLUDE REFERENCES TO
    DEFENDANT’S EMPLOYEE HANDBOOK AS NOT INCLUDING DEFENDANT’S
    SOCIAL MEDIA POLICY

   DEFENDANT’S MOTION IN LIMINE NO. 6 TO EXCLUDE REFERENCES TO
    ALLEGEDLY DENIED PROMOTIONS THAT ARE NOT CLAIMS IN THE CASE

   DEFENDANT’S MOTION IN LIMINE NO. 7 TO EXCLUDE REFERENCES TO
    SCHEDULE CHANGES PLAINTIFF ALLEGES TO HAVE BEEN DISCRIMINATORY

   DEFENDANT’S    MOTION    IN    LIMINE        NO.     8    TO     EXCLUDE
    REFERENCES TO NBC OPINION PIECE

   DEFENDANT’S    MOTION   IN  LIMINE    NO.   9             TO     EXCLUDE
    REFERENCES TO THURMAN DOMESTIC VIOLENCE ARREST

    DEFENDANT’S    MOTION     IN   LIMINE    NO.   10  TO            EXCLUDE
    REFERENCES TO PLAINTIFF BEING “FIRED” OR “TERMINATED”

   DEFENDANT’S MOTION IN LIMINE NO. 11 TO EXCLUDE REFERENCES TO
    “LEADERSHIP CHAMPION” POSITION

   DEFENDANT’S MOTION IN LIMINE NO. 12 TO EXCLUDE RUBY HAMAD AS A
    WITNESS

   DEFENDANT’S MOTION IN LIMINE NO. 13 TO EXCLUDE THE “OLD WHITE GUY”
    ALLEGATION BY SPORTS ANCHOR, DEE JACKSON

   DEFENDANT’S MOTION IN LIMINE NO. 14 TO EXCLUDE REFERENCES TO
    EMOTIONAL DISTRESS

   DEFENDANT’S   MOTION     IN   LIMINE    NO.  15    TO   EXCLUDE
    EVIDENCE, DOCUMENTS, AND WITNESSES NOT TIMELY DISCLOSED

   DEFENDANT’S    MOTION     IN     LIMINE   NO.    16   TO   EXCLUDE
    REFERENCES    TO    THE      SIZE,    RESOURCES,    OR   LOCATIONS
    OF DEFENDANT’S WITNESSES, REPRESENTATIVES, OR ITS COUNSEL




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   DEFENDANT’S   MOTION     IN   LIMINE   NO.   17   TO    EXCLUDE
    EVIDENCE RELATED TO DISCRIMINATION NOT ALLEGED BY PLAINTIFF

   DEFENDANT’S        MOTION IN LIMINE   NO.   18   TO    EXCLUDE
    REFERENCES TO ADAM SYMSON’S JUNE 28, 2018 EMAIL ENTITLED, “Here’s
    what’s on my mind”

   DEFENDANT’S MOTION IN LIMINE NO. 19 TO EXCLUDE REFERENCES TO THE
    PROMOTION OF AN IN-HOUSE EMPLOYMENT LAWYER TO THE TITLE TO VICE-
    PRESIDENT, EMPLOYMENT AND LABOR LAW, AND CHIEF DIVERSITY OFFICER
    AND/OR ANY REFERENCES TO THE HIRING OR PROMOTION OF OTHER
    AFRICAN-AMERICAN EMPLOYEES

   DEFENDANT’S   MOTION     IN   LIMINE  NO.   20   TO   EXCLUDE
    REFERENCES TO OTHER KSHB EMPLOYEES’ FAILURE TO GRANT FACEBOOK
    ADMINISTRATIVE RIGHTS TO STATION MANAGEMENT

   DEFENDANT’S     MOTION   IN  LIMINE   NO.   21   TO    EXCLUDE
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    AWARDED TO PLAINTIFF OR REFERENCE TO ANY INTEREST OF DEFENDANT
    IN SETTLING THE LAWSUIT

   DEFENDANT’S    MOTION     IN   LIMINE  NO.   22   TO             EXCLUDE
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   DEFENDANT’S    MOTION     IN  LIMINE    NO.   23   TO            EXCLUDE
    REFERENCES TO PLAINTIFF’S COVERAGE OF THE “URBAN CORE”

   DEFENDANT’S    MOTION     IN   LIMINE   NO.   24  TO    EXCLUDE
    REFERENCES TO PLAINTIFF BEING REQUIRED TO MMJ WHILE PREGNANT

   DEFENDANT’S   MOTION     IN  LIMINE   NO.   25   TO   EXCLUDE
    REFERENCES TO PLAINTIFF’S ALLEGED PURSUIT OF LINDSAY SHIVELY’S
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   DEFENDANT’S MOTION IN LIMINE NO. 26 TO EXCLUDE REFERENCES TO MEDIA
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   DEFENDANT’S MOTION IN LIMINE NO. 27 TO EXCLUDE EVIDENCE OR
    ALLEGATIONS RELATING TO THIS COURT'S IN LIMINE RULINGS CONCERNING
    TAX RETURNS
   DEFENDANT’S MOTION IN LIMINE NO. 28 EXCLUDING EVIDENCE OR
    ALLEGATIONS DEFENDANT ACTED WRONGFULLY OR IMPROPERLY BY
    RELYING ON EVIDENCE OF PLAINTIFF’S TAX INFORMATION THAT WAS
    LEARNED DURING THE PENDENCY OF THIS LAWSUIT



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   DEFENDANT’S MOTION IN LIMINE NO. 29 TO EXCLUDE ARGUMENT AND/OR
    EVIDENCE INDICATING THAT DEFENDANT ACTED UNLAWFULLY OR
    WRONGLY BY NOT DEMONSTRATING OTHER EXAMPLES OF TAKING ACTION
    AGAINST EMPLOYEES CONCERNING TAX RETURNS AND/OR SEEKING OUT TAX
    INFORMATION FROM EMPLOYEES

    DEFENDANT’S MOTION IN LIMINE NO. 30 TO EXCLUDE REFERENCES TO THE
    VIEWS OF HER LAWYER OR TO ARGUMENTS MADE BY HER LAWYER BECAUSE
    HE CANNOT SERVE AS A WITNESS IN THIS CASE WHILE ALSO SERVING AS
    COUNSEL

    II.    ARGUMENTS AND AUTHORITIES

           A.      Motion in Limine Standard

           Neither the Federal Rules of Civil Procedure nor the Federal Rules of Evidence address

    or specifically authorize motions in limine; however, such requests to trial courts, and the

    granting of such motions by those courts, have become fairly routine practice, being recognized

    as an element of a court’s inherent authority to manage trials and minimize unavoidable delay.

    See Luce v. United States, 469 U.S. 38, 41 n.4, 105 S.Ct. 460, 83 L. Ed. 2d 443 (1984). Courts

    have held that the purpose of motions in limine is “to aid the trial process by enabling the Court

    to rule in advance of trial on the relevance of certain forecasted evidence, as to issues that are

    definitely set for trial, without lengthy argument at, or interruption of, the trial. First Savings

    Bank, F.S.B. v. U.S. Bancorp, 117 F. Supp. 2d 1078, 1082 (D. Kan. 2000) (citations omitted).

    Further, “[a] trial judge has a duty to limit the jury’s exposure to only that which is probative and

    relevant and must attempt to screen from the jury any proffer that it deems irrelevant. In order to

    fulfill this duty, the court may utilize a number of vehicles, including the use of an in limine

    order.” United States v. Romano, 849 F.2d 812, 815 (3d Cir. 1988)(citation omitted).

           Defendant respectfully submits to the Court that the following discussed issues are the

    types of issues which meet the purpose for granting a motion in limine and which fall within the

    Court’s authority for addressing the issues pursuant to an in limine motion.


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       B.     Relevance and Unfair Prejudice Standards


       Relevant evidence is evidence having any tendency to make the existence of any fact that

is of consequence to the determination of the action more or less probable than it would be

without the evidence. Fed. R. Evid. 401. Evidence which is not relevant is not admissible. Fed.

R. Evid. 402. Additionally, even if relevant, the Federal Rules of Evidence prohibit the

introduction of evidence “if its probative value is substantially outweighed by the danger of

unfair prejudice, confusion of the issues, or misleading the jury, or by considerations of undue

delay, waste of time, or needless presentation of cumulative evidence.” Fed. R. Evid. 403; see

also Harvey v. Wal-Mart Stores, Inc., 33 F.3d 969 (8th Cir. 1994).

       Further, a court must evaluate proffered evidence to determine if it would lead to jury

confusion. See Jamison v. Storer Broad. Co., 511 F.Supp. 1286, 1294 (E.D. Mich. 1981). When

a trial judge determines that proffered evidence presents a danger of confusing the issues or

misleading the jury and that this danger outweighs its probative value, the evidence should be

excluded. See United States v. Castell, 584 F.2d 87, 89 (5th Cir. 1978), cert. denied 440 U.S.

925, 99 S.Ct. 1256, 59 L. Ed. 2d 480 (1979). If the evidence is not offered for a proper purpose

or will be unfairly prejudicial to the opposing party, the evidence must be excluded.

           DEFENDANT’S MOTION IN LIMINE NO. 1 TO EXCLUDE
   REFERENCES TO ALLEGED MISCONDUCT BY EMPLOYEES WHO ARE NOT
  SIMILARLY SITUATED, INCLUDING BUT NOT LIMITED TO REFERENCES TO
   SOCIAL MEDIA ACTIVITY WHERE NO COMPLAINTS WERE RECEIVED BY
  DEFENDANT AND THE CONDUCT DID NOT INVOLVE RACE-BASED OR SEX-
                        BASED STEREOTYPING


       “To be similarly situated, ‘the individuals used for comparison must have dealt with the

same supervisor, have been subject to the same standards, and engaged in the same conduct

without any mitigating or distinguishing circumstances.’ ” Wierman v. Casey’s Gen. Stores, 638


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F. 3d 984, 994 (8th Cir. 2011), 638 F.3d at 994 (quoting Cherry v. Riternour Sch. Dist., 361 F.3d

474, 479 (8th Cir. 2004), 361 F.3d at 479) (emphasis added). The test for determining whether

employees are similarly situated to a plaintiff is a rigorous one. Rodgers v. U.S. Bank, N.A., 417

F.3d 845, 853 (8th Cir. 2005), abrogated on other grounds by Torgerson v. City of Rochester, 643

F.3d 1031, 1043, 1058 (8th Cir. 2011) (en banc). Defendant hereby moves in limine to exclude

any evidence, testimony, or references thereto at trial which relate to social media activity by other

KSHB employees about which no complaints were received by the decisionmakers relating to race,

sex, or other protected status and to any other alleged conduct for which the employee is not

similarly situated.

       Here, Plaintiff’s contract was not renewed in June 2018 following her co-workers’

complaints concerning her Facebook posting or sharing the article 1) “How White Women Cry to

Avoid Accountability” that was found to violate the company’s social media policy prohibiting

negative stereotypical comments based on race or sex; 2) her posting or sharing of a meme on

Facebook referencing “Burning Down a Village” that was deemed threatening; 3) her

disingenuous responses during the company’s investigation of her co-workers’ complaints as

found by the outside investigator; and 4) her tax filing failures over several years’ time contrary

to her contract.

       Plaintiff should be prohibited from introducing evidence of alleged wrongdoing by other

employees that do not involve the same conduct concerning all four reasons for her non-renewal.

For example, as the Court indicated at the parties’ November 16 evidentiary hearing, the

Plaintiff’s attempts to introduce evidence concerning Ms. McMaster’s social media activity

is not relevant because no one complained to the decisionmaker’s in this case concerning any

of her social media conduct. (Dkt. No. 257 at pg. 12, lines 22-25) (“Mr. Meyers, given the fact




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that this is a retaliation claim and there’s no evidence that anyone complained about any

post…made, then how is this information in any way relevant”). Based on questions Plaintiff’s

counsel has asked at some of the seven depositions since the reopening of discovery, Defendant

anticipates that he will attempt to introduce various social media activity of employees for which

no one complained and which do not involve stereotypes on the basis of race, sex, or other

protected statuses.

       As this Court correctly recognized, the absence of a complaint concerning employees’

alleged misconduct differentiates that employee from other employees.            As explained in

depositions, Defendant does not police its employees social media accounts for violations and this

practice is consistent with the practice of other TV stations in the industry as confirmed by

Defendant’s expert Dr. Beth Knobel. Employers are not required to demonstrate examples of

enforcing policy violations against employees other than the Plaintiff who was accused of

misconduct by third parties unlike others. See Evance v. Truman Health Services, LLC, 719 F. 3d

673, 678 (8th Cir. 2013) (The aim of anti-discrimination laws is to prevent discrimination in the

workplace, not to scrutinize an employer’s procedure for uncovering workplace violations by its

employees.); Summers v. City of Dothan, 757 F. Supp. 2d 1184, 1208 (M.D. Ala. 2010).

Accordingly, courts throughout the country have recognized that it is not enough to merely identify

someone else alleged to have engaged in the same misconduct – the plaintiff must show that the

same decisionmaker knew of the misconduct and consciously overlooked it. Perry v. Mail

Contractors of America, Inc., 2013 WL 6119226, at *6 (W.D. N.C. Nov. 21, 2013) (“[U]nless the

plaintiff can prove the decisionmaker knows of the [comparator’s misconduct] the events cannot

be considered in determining whether [plaintiff and his comparators] are similarly situated.”

(internal quotations and citations omitted)); Macon v. United Parcel Service, Inc., 743 F.3d 708,




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719-20 (10th Cir. 2014); see also Ladry v. Lincare, Inc., 579 F. App’x 734, 738 (11th Cir. 2014);

Knight v. Fourteen D. Enterprises, Inc., 995 F. Supp. 2d 1311, 1329 (S.D. Ala. 2014); Johnson v.

City of North Myrtle Beach, 2012 WL 848038, at *9 (D. S.C. Jan. 25, 2012); Duggan v. Sisters of

Charity Providence Hospitals, 663 F. Supp. 2d 456, 463 (D. S.C. 2009); Goddard v. City of Atlanta,

2007 WL 9700876, at *14 (N.D. Ga. Aug. 10, 2007). No such evidence is present here.

       By way of example, Plaintiff has grilled witnesses during depositions with a social media

post from KSHB Chief Meteorologist, Gary Lezak who announced his same-sex engagement on

social media and that Plaintiff believes is somehow inappropriate. Mr. Lezak’s posting that

involves his own engagement and marriage is constitutionally protected and no one complained to

the decisionmakers that his posting violated the Social Media Policy or Code of Conduct

prohibiting negative comments based on race, sex, or other protected status. It is instead Plaintiff

who is trying to introduce this evidence in a transparent attempt to inflame jury members who may

be opposed to constitutionally protected same sex marriage and confuse the issues in this case in

violation of Rule 403. Similarly, Plaintiff is expected to attempt to reference many other social

media activity of numerous others, including but not limited to that of investigative reporter,

Jessica McMaster (relating to her exchange with former reporter Terra Hall regarding the

President); evening anchor, Mike Marusarz (regarding the President’s cancelation of meeting with

the Philadelphia Eagles); Digital Director, Kent Chapline (regarding NFL cheerleaders), all in

efforts to argue that these individuals were not disciplined for social media posts that had the

potential to somehow offend KSHB employees and viewers. As stated above, the decisionmakers

did not receive complaints involving these postings and they did not involve stereotyping of a

group based on race or sex. In addition to these posts, Defendant anticipates that for every witness

that testifies on behalf of or whose testimony is favorable to Defendant, Plaintiff will attempt to




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confront them with some social media posts from their past that Plaintiff will construe as being

potentially a violation of Scripps’ Social Media Policy. Notwithstanding, any such testimony and

accompanying social media evidence will do nothing more than confuse the jury with testimony

that is not relevant to the actual claims or defenses in this case and will serve to put witnesses on

trial, will prolong testimony time needlessly and significantly, and will obscure the actual

questions at issue in this trial. Moreover, the social media posts that Plaintiff will offer will be

distinctly different from her own post in myriad ways, including that Defendant did not receive

complaints to the decisionmakers in Plaintiff’s non-renewal or HR about those other posts and

they did not involve stereotyping based on race or sex, prompting investigation that ultimately led

to the conclusion that such posts violated the company’s Social Media Policy.               Further,

Defendant’s social media policy by its own terms treats offensive posts based on race or sex

differently in that termination is mentioned only in the section warning against such offensive

conduct based on race or sex and incorporating the Code of Conduct. Defendant, consistent with

the law and with its zero tolerance policy for race and sex-based conduct, may treat violations

involving race or sex more seriously and to not police social media activity, consistent with

industry standards. Gacek v. Owens & Minor Distribution, Inc., 666 F.3d 1142, 1147 (8th Cir.

2012) (refusing to consider the discipline of other employees for violations of the same policies

because their conduct was not of “comparable seriousness” with plaintiff’s conduct). Plaintiff’s

attempt to make irrelevant comparisons would prejudice Defendant by substituting the judgment

of Plaintiff’s lawyers in the minds of the jury for the business judgment of Defendant.

       Further, even if the social media activity was—contrary to fact—comparable to Plaintiff’s

post involving “How white women use strategic tears to avoid accountability” and others

complained, Plaintiff’s contract was not renewed for three other reasons too. To be similarly




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situated, Plaintiff would also need to identify another employee who has made threatening

posts about burning down a village, who was disingenuous in an investigation concerning

her alleged misconduct, and who also engaged in tax violations contrary to their contract.

This she cannot do and she must be precluded from referencing other employees who did

not engage in the same conduct based on the Eighth Circuit’s “rigorous” test to determine

whether employees are similarly situated. Rodgers v. U.S. Bank, N.A., 417 F.3d 845, 853 (8th

Cir.2005), abrogated on other grounds by Torgerson v. City of Rochester, 643 F.3d 1031, 1043,

1058 (8th Cir.2011) (en banc). Such evidence that lacks relevancy as not similarly situated also

serves to unduly prejudice Defendant under Rule 403, confuse the issues and delay the trial with

countless rebuttals and other witnesses to testify concerning postings that are not relevant in this

case in the first place.

        Accordingly, references to employees whose social media activity cannot properly be

compared to that of Plaintiff’s should not be admitted at trial.

                 DEFENDANT’S MOTION IN LIMINE NO. 2 TO EXCLUDE
                    REFERENCES TO POST-RENEWAL ACTIVITY

        Defendant moves to exclude any evidence, testimony, or references thereto at trial which

relate to any activity, conduct or decisions made by Defendant after its decision to not renew

Plaintiff’s contract on June 7, 2018 and after Scripps’ management communicated the same to

Plaintiff on June 12, 2018. Defendant anticipates that Plaintiff will seek to introduce at trial

evidence of conduct by Defendant relating to decisions or discussions post-dating the June 7, 2018

non-renewal decision and June 12, 2018 meeting between Scripps and Plaintiff regarding same.

        Logically, any decision, conduct, or communications occurring after Plaintiff’s separation

from Scripps cannot be relevant to her claim, nor can any such matters support her burden of

proving intentional retaliation because such burden can only be supported by actions that occurred


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at the time of (not after) the allegedly retaliatory act occurred. Green v. City of St. Louis, Mo., 507

F.3d 662, 669 (8th Cir. 2007) (holding trial court did not abuse discretion in holding post-

termination statements were not relevant to earlier termination); Jordan v. U.S. Bank, 2008 WL

2783229, n. 1 (E.D. Mo. July 15, 2008) (excluding paragraphs from submitted Statement of Facts

because the events occurred post-termination and therefore were not relevant to the termination);

see also Bowie v. Maddox, 642 F.3d 1122, 1134-35 (D.C. Cir. 2011). For the foregoing reasons,

Defendant requests that Plaintiff not be permitted to introduce evidence of activity, discussions,

communications, conduct or decisions purportedly in support of her retaliation claim by Defendant

after the June 12, 2018 meeting during which she was advised of Defendant’s non-renewal

decision.

     DEFENDANT’S MOTION IN LIMINE NO. 3 TO EXCLUDE REFERENCES TO
         DISMISSED HOSTILE WORK ENVIRONMENT ALLEGATIONS

       Defendant hereby moves in limine to exclude any evidence, testimony, or references

thereto at trial to Plaintiff’s dismissed hostile work environment claims. All such claims were

dismissed by the Court’s April 2, 2018 Order Granting in Part and Denying in Part Defendant’s

Motion for Summary Judgment and any attempt to reference a hostile work environment, toxic

work environment, or harassment of Plaintiff would be improper and should be excluded.

Littleton v. Pilot Travel Centers, LLC, 568 F.3d 641, 648 (8th Cir. 2009) (affirming district court’s

exclusion of evidence related to dismissed retaliation claims in employment).


    DEFENDANT’S MOTION IN LIMINE NO. 4 TO EXCLUDE REFERENCES TO
    PLAINTIFF HAVING BEEN ACCUSED AND EXONERATED OF CREATING A
                     HOSTILE WORK ENVIRONMENT

       Defendant hereby moves in limine to exclude any evidence, testimony, or references

thereto at trial concerning Plaintiff’s assertion that she was charged with creating a “hostile work



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environment” in May 2018 and exonerated of that charge. It is undisputed that neither the Social

Media Policy nor the Code of Conduct required Scripps to find conduct meeting the legal

definition of a hostile work environment before taking action for improper social media conduct,

and Scripps did not make any such finding with regard to Plaintiff before deciding not to renew

her contract. Scripps’ Social Media Policy and Code of Conduct instead prohibit negative conduct

on the basis of race or sex, warning employees that one act can result in termination based on its

zero tolerance policy. Consequently, because Scripps’ Social Media Policy does not require

conduct to rise to the level of a legal hostile work environment in order to constitute a violation of

the policy, Plaintiff’s assertion that she was charged with creating a hostile work environment but

exonerated of that claim will mislead and confuse the jury by implying that Plaintiff was

determined not to have engaged in a policy violation when she in fact was found to have engaged

in such policy violation. The fact that the outside investigator, a lawyer, out of an abundance of

caution also referenced the legal definition of a hostile work environment and concluded that such

a legal violation was not met because Plaintiff was not a supervisor and did not engage in pervasive

conduct is irrelevant and would only serve to confuse the jury under Rule 403 and lead to additional

witnesses being forced to explain and counter such misdirection offered by Plaintiff. Consequently,

any reference by Plaintiff to having been accused and exonerated of creating a hostile work

environment should be excluded under Rule 403.


    DEFENDANT’S MOTION IN LIMINE NO. 5 TO EXCLUDE REFERENCES TO
   DEFENDANT’S EMPLOYEE HANDBOOK AS NOT INCLUDING DEFENDANT’S
                      SOCIAL MEDIA POLICY

       Defendant hereby moves in limine to exclude any evidence, testimony, or references

thereto at trial related to Defendant’s Employee Handbook as not including Defendant’s Social

Media Policy. The 2016 Social Media Policy violated by Plaintiff is a stand-alone policy applicable


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to all Scripps employees and is available on the Scripps intranet. It is not relevant whether the

Policy is included in Defendant’s “Employee Handbook.” Plaintiff had access to the Social Media

Policy and signed off on being trained on this policy effective as of February 2016 by way of

Defendant’s intranet Compliance Corner. Moreover, the Code of Conduct also references and is

incorporated in the Social Media Policy. The Social Media Policy is also covered in Scripps’ Code

of Conduct e-learning training which Plaintiff completed on October 17, 2017, and the policy was

also sent to and received by her in an email by management in February 2018. Any suggestion at

trial that the policy does not appear in Defendant’s Employee Handbook will unnecessarily

confuse the jury over an immaterial issue—namely the exact placement of the policy within

company documents. No law requires a company to include all of its policies in a single “employee

handbook” as opposed to its Intranet, its Code of Conduct, or as a standalone policy not part of a

larger document, intended to highlight its importance. It is undisputed that the policy was in force

at the time of Plaintiff’s social media conduct, applied to Plaintiff, and she received the policy.

Accordingly, any such references to the policy not being in the “handbook” should be excluded.




    DEFENDANT’S MOTION IN LIMINE NO. 6 TO EXCLUDE REFERENCES TO
   ALLEGEDLY DENIED PROMOTIONS THAT ARE NOT CLAIMS IN THE CASE

       Defendant hereby moves in limine to exclude any evidence, testimony, or references

thereto at trial which relate to promotions Plaintiff sought but was not awarded that are not claims

in this lawsuit. As the Court made clear in its September 26, 2018 Order (Dkt. No. 215), the only

claims to be tried are those asserted in the First Amended Complaint that survived summary

judgment as well as the retaliation claim in the Second Amended Complaint arising out of conduct

that took place in May and June 2018. Thus, the only Failure to Promote Claim being tried based



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on the Court’s September 26, 2018 Order is the Investigative Reporter/Consumer Reporter position

in April, 2015. As a result, any references by Plaintiff to any other promotions allegedly sought by

Plaintiff which she was not awarded or feels that she deserved are irrelevant to Plaintiff’s claims.

Additionally, references to or evidence of such denied promotions will mislead the jury into

believing all of the positions which Plaintiff sought but was not awarded or believed she deserved

remain at issue in this case. Any such testimony will prejudice the jury, confuse the issues, and

needlessly prolong the trial with mini-trials due to the necessity of Defendant to bring on multiple

additional witnesses to rebut testimony concerning claims not in the case. Consequently, all

references to any promotion other than the Investigative Reporter promotion—the only promotion

claim still at issue in in this case, should be excluded.


   DEFENDANT’S MOTION IN LIMINE NO. 7 TO EXCLUDE REFERENCES TO
SCHEDULE CHANGES PLAINTIFF ALLEGES TO HAVE BEEN DISCRIMINATORY

       Defendant moves in limine to exclude any evidence, testimony, or references thereto at

trial which relate to various changes Plaintiff has sought in her work schedule and/or that she

believes she deserved. At various times during her employment, Plaintiff sought to change her

work schedule. Plaintiff alleged that Scripps’ refusal to grant her schedule change requests was

evidence of a hostile work environment. The Court, however, dismissed that claim. (Dkt. No. 115.)

Plaintiff’s requests for altered schedules are not relevant to the claims remaining for trial.

Specifically, they have no relevance whatsoever to the remaining failure to promote and retaliation

claims and would confuse the jury and suggest they must assess liability as to whether Plaintiff’s

schedule change was discriminatory or retaliatory. Schedule changes are not adverse actions.

Hughes v. Stottlemyre, 454 F.3d 791, 797 (8th Cir. 2006) (affirming district court holding that

schedule change is not an adverse employment action). Plaintiff does not have a claim in the




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lawsuit any longer concerning her schedule. What is more, if Plaintiff is permitted to testify about

her requested schedule changes, such testimony will unnecessarily confuse the jury and prolong

the trial as it will require mini-trials on Plaintiff’s schedule as well as that of numerous other

Scripps employees concerning their schedules and reasons for changes in schedules, reasons for

denying changes in schedules, the relative performance of employees to justify schedule changes,

etc. Consequently, all references to Plaintiff’s requested schedule changes should be excluded as

irrelevant and/or under Rule 403.


                DEFENDANT’S MOTION IN LIMINE NO. 8 TO EXCLUDE
                      REFERENCES TO NBC OPINION PIECE

       Defendant hereby moves in limine to exclude any evidence, testimony, or references

thereto at trial which relate to an NBC opinion piece posted on NBC.com entitled, “White Fragility:

Why it’s So Hard for White People to Talk about Racism.” Based on her questioning at deposition,

it is anticipated Plaintiff may attempt to use this article to suggest that opinion articles on race are

posted by news outlets without consequence. Plaintiff, however, is not an opinion writer and

Scripps’ Social Media Policy specifically addresses race and gender-related posts that may be

construed as discriminatory or contributing to a hostile work environment. Moreover, what

NBC.com chooses to post or allow to be posted as opposed to KSHB, a local television new station,

is not relevant to Defendant’s non-renewal decision, or whether Plaintiff violated Defendant’s

specific Social Media Policy. KSHB is owned by Scripps and does not own NBC, but is affiliated

with NBC. Thus, Defendant has no control over NBC. NBC does have an “opinion” section for

its website, but KSHB does not. Any reference by Plaintiff to this NBC posted article is irrelevant

and will confuse the issues and falsely attribute NBC’s website content to KSHB/Scripps, who has




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no control over such content of its network affiliate. All references to this article should be

excluded as irrelevant and/or under Rule 403.


              DEFENDANT’S MOTION IN LIMINE NO. 9 TO EXCLUDE
            REFERENCES TO THURMAN DOMESTIC VIOLENCE ARREST

        Without disclosing the document to defense counsel in advance, Plaintiff at a recent

deposition questioned a witness concerning a third party website’s “scoop article” stating that

Randy Thurman, the station’s creative services director had been “busted” for battery at 1:45 AM

on July 4, 2016 involving his wife. Mr. Thurman is not a reporter or an anchor and in his role as

creative services director, he is not a public figure, nor does he have any on-air role. This issue

predates the time period the Court allowed for additional discovery of May and June, 2018 by

nearly two years. Steve Watt, the General Manager who opted not to renew Plaintiff’s

employment contract in June, 2018 was not even employed at the station or with Scripps at the

time of this alleged incident. Mr. Watt did not become the General Manager at KSHB until May,

2017 nearly a year after the allegation concerning Mr. Thurman and of course could not have been

involved in decisions relating to his employment that may have been considered at the time. This

allegation is not relevant.

        The law is clear that Plaintiff may not rely on conduct that allegedly happened in 2016 that

did not involve the decision makers for Plaintiff’s non-renewal and did not involve the same

positions. Betz v. Chertoff, 578 F.3d 929, 934 (8th Cir. 2009) (“To be similarly situated two

employees ordinarily must deal with the same supervisor or the decision-maker must be the same

in both instances.”). Moreover, there is no allegation that Mr. Thurman admitted guilt or was

found guilty concerning these allegations. This is a clear effort to smear the Station and Mr.

Thurman and an attempt to confuse the issues before the jury. Any reference to this alleged




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incident would result in undue prejudice to Defendant. Even if this evidence had any relevance

(which it does not), it must be excluded under Rule 403. If this evidence is allowed over objection,

Defendant will be forced to call Mr. Thurman, his wife, and potentially others to testify to the facts

in an effort to counter the irrelevant smear campaign by the Plaintiff. This will further complicate

and lengthen the trial. Accordingly, Plaintiff must be precluded from making any reference to

Randy Thurman’s alleged arrest or the issues surrounding same.

             DEFENDANT’S MOTION IN LIMINE NO. 10 TO EXCLUDE
         REFERENCES TO PLAINTIFF BEING “FIRED” OR “TERMINATED”

       Defendant hereby moves in limine to exclude any evidence, testimony, or references

thereto at trial to Plaintiff having been fired by Defendant. Plaintiff was not fired, rather her

contract was not renewed and she was paid in full for the approximately two months remaining on

her contract at the time of her non-renewal decision. Moreover, Plaintiff was paid in full during

her suspension from work during the outside investigation and then paid in full through September

1, the end of her contract. When Defendant opted to not renew her contract, it also waived her

non-compete obligations. Exercising its non-renewal option as Defendant did in compliance with

Plaintiff’s Employment Agreement is different from firing Plaintiff and thus, any reference to the

non-renewal decision as a firing would be meant to inflame and confuse the jury. Plaintiff has

actually corrected her previous incorrect statements on social media that she was “fired” and

replaced it with the correct terminology that her contract was not renewed. As such, Defendant

respectfully requests a ruling that Plaintiff should not be permitted to refer to Defendant’s non-

renewal decision as a firing or termination or any similar terminology.




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    DEFENDANT’S MOTION IN LIMINE NO. 11 TO EXCLUDE REFERENCES TO
                 “LEADERSHIP CHAMPION” POSITION

       Defendant hereby moves in limine to exclude any testimony regarding the Leadership

Champion position for which Plaintiff claims she did not receive because of her race. Any claim

relating to the Leadership Champion position must be precluded at trial because when specifically

asked about all of her claims for damages, Plaintiff’s Interrogatory Responses failed to list any

damages whatsoever associated with any such denial of the Leadership Champion designation.

See Exhibit “A,” attached hereto. Without a claim for damages, the Court lacks jurisdiction to

entertain such a claim. Advantage Media, L.L.C. v. City of Eden Prairie, 456 F.3d 793, 803 (8th

Cir. 2006) (indicating a plaintiff must be injured in some way to have standing to pursue its claims);

see also M.W. ex rel. Williams v. Avilla R-XIII School Dist., 2011 WL 3354933 at *3 (W.D. Mo.

Aug. 3, 2011) (holding that plaintiffs could not pursue claims where they could not allege damages

resulting from those claims). Indeed, Leadership Champion is not a position to which an employee

can be promoted at all but a mere designation, which did not come with increased salary or

employment benefits, and the deprivation of which cannot constitute an adverse employment

action. Davis v. Town of Lake Park, Fla., 245 F.3d 1232, 1243-45 (11th Cir. 2001) (holding that

removal of employee’s designation as “officer in charge” was not an actionable adverse

employment action); King v. City and County of San Francisco, 2012 WL 3877673 at *5 (N.D.

Cal. Sept. 6, 2012) (ruling that employer’s refusal to designate employee as a “lead” was not an

adverse employment action because the designation was a mere “transitory title” that did not result

in increased pay or employment benefits). Plaintiff at her deposition also did not even reference

the “Leadership Champion” when questioned concerning the claims she believed she was asserting.

Consequently, all testimony regarding the Leadership Champion role should be excluded.




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                DEFENDANT’S MOTION IN LIMINE NO. 12 TO EXCLUDE
                         RUBY HAMAD AS A WITNESS

       Defendant hereby moves in limine to exclude any testimony from Ruby Hamad. First, Ms.

Hamad has no personal knowledge of any fact relevant to Plaintiff’s claims. Thus, any testimony

she may provide with regard to the facts concerning the non-renewal decision or other aspects of

Plaintiff’s claims would be either inadmissible speculation or hearsay. Any testimony Ms. Hamad

could offer as a fact witness, such as testimony concerning her reasons for writing her article, for

example, is simply irrelevant. There is no indication that Ms. Hamad’s motivation for writing her

article played any role in Scripps’ decision not to renew Plaintiff’s contract. Indeed, Plaintiff had

never spoken with, or even heard of, Ms. Hamad prior to posting her article. See Plaintiff’s

Deposition, Volume III at 704:23-705:3.        Further, Ms. Hamad’s testimony concerning the

purported statements made out of Court involving others referenced in the article would constitute

hearsay.

       Ms. Hamad’s lack of personal knowledge of the relevant facts, combined with Plaintiff’s

subsequent solicitation of Ms. Hamad’s support and Ms. Hamad’s resulting efforts to bring unfair

publicity to the issue and Scripps in particular, shows that, if permitted to testify, Ms. Hamad’s

only role would be to serve as a cheerleader for Plaintiff while attempting to confuse and unfairly

prejudice the jury against Scripps. Plaintiff’s social media activity reflects a campaign involving

Ms. Hamad and others to bring publicity to Ms. Hamad’s article by championing Plaintiff’s “cause,”

which smacks of tainting the jury. Unfair prejudice and jury confusion are particularly likely here

because Ms. Hamad, as author of the article posted by Plaintiff before her contract was not renewed,

could take on a celebrity status in the eyes of the jury. See Lidle v. Cirrus Design Corp., 2011 WL

1642339 (S.D.N.Y. April 25, 2011) (excluding witnesses because celebrity status posed likelihood

of unfair prejudice). As such, Ms. Hamad’s testimony should be excluded.


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        Second, Ms. Hamad has never been identified as an expert and therefore cannot testify as

to her opinion concerning the journalistic propriety of her article, discrimination, implicit bias, or

any other topic. Bartell v. Govoreau, 2005 WL 5989792 (W.D. Mo. Sept. 23, 2005) (excluding

proffered expert witness because party failed to timely identify the expert). The kind of testimony

Ms. Hamad could offer, which would be unfettered from facts or expert opinion, would serve only

to confuse the issues and mislead the jury. As such, Ms. Hamad should be excluded as a witness

in this case.

          DEFENDANT’S MOTION IN LIMINE NO. 13 TO EXCLUDE THE
      “OLD WHITE GUY” ALLEGATION BY SPORTS ANCHOR, DEE JACKSON

    Defendant hereby moves in limine to exclude any testimony relating to an alleged statement

by Carrie Hofmann (which Hofmann denies) regarding making the Sports Director hiring decision

in an effort to avoid PR concerns from passing over an “old white guy.” In the Eighth Circuit,

“[d]irect evidence is evidence showing a specific link between the alleged discriminatory animus

and the challenged decision, sufficient to support a finding by a reasonable fact finder that an

illegitimate criterion actually motivated the adverse employment action.” Aulick v. Skybridge

Americas, Inc., 860 F.3d 613, 620 (8th Cir. 2017). For a remark to be direct evidence of

discrimination, it “must show a specific link between a discriminatory bias and the adverse

employment action.” Torgerson v. City of Rochester, 643 F.3d 1031, 1045-46 (8th Cir. 2011).

Hofmann’s alleged statement is not, as Plaintiff claims, direct evidence of discrimination, and

should be excluded as such for four reasons. First, Hofmann’s statement was not about Plaintiff,

which precludes it from being direct evidence of discrimination with regard to Plaintiff. Second,

Hofmann’s alleged statement, even if made, was not about the decisionmaking process Plaintiff is

challenging in her lawsuit, which precludes the statement from being direct evidence. Third,

Hofmann’s alleged statement was not about race at all, which prevents it from being direct


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evidence of race discrimination. Finally, Hofmann’s purported statement to Jackson if made could

only be a stray remark, which is not direct evidence.

               1.      The Statement Was Not About Plaintiff

   Generally, a decisionmaker’s statements are not direct evidence of discrimination unless they

are actually about the plaintiff. Kerns v. Capital Graphics, Inc., 178 F.3d 1011, 1017-18 (8th Cir.

1999) (holding that no direct evidence of discrimination existed because none of the

decisionmaker’s sexist and sexual statements related to the plaintiff). As the Eighth Circuit

explained in Torgerson, a decisionmaker’s statements must show a specific link between a

discriminatory bias and a specific adverse employment action. 643 F.3d at 1045-46. Clearly, that

cannot happen if the decisionmaker’s statements are not about the plaintiff. Id. at 1046. It is

undisputed that the alleged statement was not about Plaintiff in any way; it therefore cannot be

direct evidence of discrimination against Plaintiff.

               2.      The Statement Was Not About the Decisional Process Related to
                       Plaintiff

   Allegedly prejudiced comments made by decision makers that are unrelated to the decisional

process challenged by a plaintiff are not direct evidence of discrimination. Mohr v. Dustrol, Inc.,

306 F.3d 636, 640-41 (8th Cir. 2002), abrogated on other grounds by Desert Palace, Inc. v. Costa,

539 U.S. 90 (2003). In Clearwater v. Indep’t School Dist. No. 166, 231 F.3d 1122, 1127 (8th Cir.

2000), the court held that although a decisionmaker made offensive comments about Native

Americans, the comments were “not sufficiently related to the adverse employment action in

question to constitute direct evidence of a discriminatory motive.” Here, Hofmann’s alleged

statement had nothing at all to do with any decisional process concerning Plaintiff’s employment.

Hofmann’s purported statement concerned only the decision to hire Frank Boal as the Sports

Director. Because a connection between the alleged statement to Jackson and the decisional



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process concerning Plaintiff is completely absent, the statement, even if true, which Hofmann

denies, cannot be direct evidence, and should be excluded as such.

               3.      The Statement Was Not About Race

   A statement by a decisionmaker does not constitute direct evidence of discrimination unless it

concerns the basis on which the plaintiff alleges she was discriminated. McGinnis v. Soo Line R.

Co., 2014 WL 813858, at *3 (D. Minn. March 3, 2014) (holding that remarks that were only

“tangentially-related to age” did not constitute direct evidence of discrimination. In Bauer v. Metz

Baking Co., 59 F. Supp. 2d 896, 904-05 (N.D. Iowa 1999), the court found that a decisionmaker’s

comment that the plaintiff might like to retire so that she could work in her garden or travel was

not sufficiently related to age as to constitute direct evidence of discrimination). Similarly, in Smith

v. Don’s Paint and Body Shop, 2005 WL1124738 at * 5 (D. Minn. May 11, 2005), the court found

that a decisionmaker’s statements that the plaintiff was “losing it” were insufficiently related to

age to be direct evidence of discrimination. Here, the alleged statement to Jackson was, at best,

tangentially related to race. Though according to Jackson, Hofmann purportedly mentioned that

Boal was the “old white guy,” the context of the comment showed that she was communicating

her opinion of what the public perception would have been if Boal, a local legendary sportscaster,

was not given the Sports Director job. Thus, the alleged statement is not direct evidence of race

discrimination and to the extent Plaintiff claims they are, should be excluded.




               4.      The Statement Was a Stray Remark

   The Eighth Circuit and the Eastern District of Missouri have recognized that “stray remarks in

the workplace” are not direct evidence of discrimination. Aulick, 860 F.3d at 620; Burrow v.

Boeing Co., 2011 WL 1594937 at *7 (E.D. Mo. April 27, 2011). In Lovell v. Brinker Int’l, Inc.,


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1997 WL 570457 at *5 (W.D. Mo. June 27, 1997), the court found a decisionmaker’s racially

offensive comments did not constitute direct evidence of discrimination because they were made

in the context of an after-hours recreational setting and were unrelated to any decision concerning

the plaintiff). In Smith, 2005 WL1124738 at * 5, the court found that a decisionmaker’s statements

about plaintiff’s age with no causal connection to the adverse employment decision were stray

remarks and not direct evidence of discrimination. Like the comments above, there is nothing

linking Hofmann’s alleged statement which allegedly concerned Frank Boal to any decision

concerning Plaintiff or the decisional process related to Plaintiff’s contract. Consequently, the

statement -- if made -- could only constitute a stray remark and not direct evidence of

discrimination as Plaintiff claims.

   For these reasons, Defendant respectfully requests that any reference to the alleged statement

referring to Mr. Boal as the “old white guy,” be excluded from trial.

                     DEFENDANT’S MOTION IN LIMINE NO. 14
                TO EXCLUDE REFERENCES TO EMOTIONAL DISTRESS

       Defendant hereby moves in limine to exclude any evidence, testimony, or references

thereto at trial to Plaintiff’s emotional distress. Plaintiff cannot rightfully maintain an argument

that she was subject to emotional distress that went undiagnosed by any sort of medical provider.

Furthermore, her own social media posts demonstrate that she suffered no emotional distress. In

fact, based on her Facebook posts, Ms. Benson suggested that life was better not worse after

leaving KSHB and so to suggest otherwise, in the absence of medical testimony to the contrary,

would necessarily require Plaintiff to testify to a state of mind that is in direct conflict with the

image she projects to the world day in and out on Facebook. See Curry v. U.S., 2018 WL 347661

at *2 (E.D. Cal. Jan. 9, 2018) (recognizing that garden variety emotional distress requires showing

that the plaintiff suffered distress and pain and suffering, though not at a level sufficient to require


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medical treatment). Plaintiff’s own social media postings reflect no distress due to her contract

non-renewal, but joy. As a result, she should be precluded from testifying to alleged emotional

distress. See, for example, Exhibit B, attached hereto.


       Moreover, emotional distress evidence should be excluded because any evidence,

arguments, or references to any medical conditions or emotional distress to the extent it exists, is

disconnected to any alleged discrimination Plaintiff suffered in the workplace. Plaintiff’s Second

Amended Complaint alleges she has suffered “pain and suffering, mental anguish, anxiety and

emotional distress.” Dkt. No. 180 ¶ 24. In response to Defendant’s discovery requests seeking

Plaintiff’s medical records for evidence supporting these alleged non-monetary damages, Plaintiff

refused access to her records and medical providers. Rather, Plaintiff stated, through her counsel,

that “Plaintiff is not claiming diagnosable medical or emotional injury. The law refers to her claim

as ‘garden variety’ emotional distress. No medical testimony, no records are required to recover

on such a claim.” Exhibit “C”, email from Plaintiff’s counsel to the Court, December 21, 2017,

attached hereto. Plaintiff’s Response attempts to improperly side-step Defendant’s right to

discovery to identify other stressors by claiming that she is not relying on medical testimony or

records for her case. But, Defendant should have been permitted to explore the issues fully because

they explain any stress she experienced as relating to other stressful situations, such as her filing

for divorce and she should be precluded now from asserting such pain and suffering, mental

anguish, anxiety, and emotional distress,” allegedly caused by KSHB.

1.     Evidence or testimony reflecting or relying on a medical diagnosis or opinion should
       be excluded.

       Plaintiff refused to allow Defendant to access her complete medical records or depose her

doctors. This prevented Defendant from discovery relating to any medical diagnosis which

Plaintiff may attempt to raise at trial, including purported anxiety, depression, insomnia, stress,


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pregnancy complications, etc., including Plaintiff’s symptoms, causation, contributing factors, or

prescribed treatment. Plaintiff should not be rewarded by being allowed to introduce evidence

reflecting or relying on purported diagnoses when her actions prohibited Defendant from verifying

or disproving them during discovery. Such evidence would imply causation to a jury, and would

be highly prejudicial to Defendant’s case, despite the lack of any admissible evidence to support

either the diagnosis or causation.

       Plaintiff has further failed to disclose any expert witness qualified to confirm any diagnosis

or proffer any opinion on causation. Any attempt by Plaintiff to lay a foundation as to a medical

diagnosis at this point would mandate reliance on as-yet-undisclosed expert evidence or testimony,

which is also the subject of another motion to exclude. Therefore, there is no basis for introducing

any evidence which would suggest a diagnosis of any injury outside of garden variety mental

distress. Hodak v. City of St. Peters, No. 4:04CV01099ERW, 2006 WL 521489, at *3 (E.D. Mo.

Mar. 2, 2006) (granting motion in limine to exclude, as irrelevant, medical records and other

evidence of mental illness when there was no expert to tie the mental illness to the incident

complained of).

       Because it would lack foundation laid by any medical professional, any evidence – for

example, Plaintiff’s request for leave under FMLA (Dkt. No. 92-42) – that relies on or reflects a

medical diagnosis or opinion would be irrelevant, confusing, and prejudicial, and should therefore

be excluded from trial.

2.     Lay evidence speculating a medical diagnosis should be excluded.

       Furthermore, any speculation as to a medical diagnosis should be excluded. Such evidence

or testimony is irrelevant to Plaintiff’s claims. State ex rel. Dean v. Cunningham, 182 S.W. 3d

561, 568 (Missouri 2006) (en banc) (noting that “evidence of [Plaintiff’s] medically or

psychologically diagnosable mental or physical condition is irrelevant to the question of whether


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she suffered ‘garden variety’ emotional distress” related to discrimination); see also Williams v.

Trans States Airlines, Inc., 281 S.W. 3d 854, 876-77 (Mo. Ct. App. 2009) (excluding treatment

records and other evidence related to Plaintiff’s emotional distress where Plaintiff only alleged

garden variety distress); D.P. ex rel. Pugh v. Bowling Green R-1 School Dist., No. 2:11cv00054,

2012 WL 918184 (E.D. Mo. March 19, 2012) (determining that plaintiff did not have to produce

medical records to prove "garden variety" mental distress damages while concurrently holding that

plaintiff could not present medical evidence in support of garden variety mental distress claim).

       Even aside from this evidence’s lack of probative value, any attempt to introduce a medical

explanation for Plaintiff’s emotional state would risk causing substantial juror confusion. Fed. R.

Evid. 403. The entire reason garden variety distress damages are distinct from other forms of

medical claims is because they are “generally in the common experience of jurors and do not

depend on any expert evidence.” Cunningham, 182 S.W. 3d at 568. To introduce into evidence

records or testimony that point to specific medical conditions would constitute substitution for the

jury’s common experience and suggest diagnoses which have not been established by Plaintiff.

Such confusion would be exacerbated in instances where lay witnesses give testimony that speaks

to mental or physical conditions beyond “the kind of distress or humiliation that an ordinary person

would feel in such circumstances.” Id. As such, evidence related to Plaintiff’s emotional distress

must be limited to the usual stress that may result from Defendant’s alleged conduct, such as anger,

sadness, or humiliation. See, e.g., Flowers v. Owens, 274 F.R.D. 218, 220 (N.D. Ill. 2011).

       For the same reasons, as well as its nature as improper hearsay, Plaintiff cannot testify or

introduce evidence of a medical diagnosis or any information relayed to her by a medical

professional. See Jackson v. Asplundh Construction Corp., 2016 WL 5941937 at *4 (E.D. Mo.




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Oct. 13, 2016) (granting motion in limine preventing plaintiff from testifying about any medical

diagnosis or medical information relayed to her).

3.      Plaintiff should not be permitted to argue or refer to undiagnosed medical
        conditions as being “caused by” Defendant’s alleged conduct.

        Finally, any introduction of evidence seeking to ascribe an undiagnosed medical condition

to Defendant’s alleged conduct should be excluded from trial as irrelevant, speculative, and

prejudicial, including but not limited to:

                Carl Cooper’s attempt to diagnose Plaintiff as suffering mental and emotional
                 trauma, as well as physical ailments, due to Defendant’s alleged conduct (Dkt. No.
                 101-01, ¶¶ 4, 5, 7, 11, 12);

                Plaintiff’s testimony that she was prescribed medication for anxiety and/or
                 depression caused by Defendant’s alleged conduct (Dkt. No. 101-73, Plaintiff’s
                 Depo. Tr. 206-208, 279); and

                Any statement attempting to link purported early labor or pregnancy complications
                 Plaintiff may have experienced to Defendant’s alleged conduct1 (see Dkt. No. 101-
                 23, Depo. Ex. 37).

        The only person who could make these causal connections at trial is an expert, and Plaintiff

has never disclosed any medical expert or professional in this case. Causation opinions are not

appropriate subjects of testimony for lay witnesses. See Fed. R. Evid. 701; see also Tanner v. City

of Sullivan, 2013 WL 121476 at *3-4 (E.D. Mo. Jan. 9, 2013). Plaintiff has no evidence to tie any

stress she has experienced to the actual limited claims in this case, as opposed to her now dismissed

hostile environment claim, the sex, age, and FMLA claims she attempted unsuccessfully to pursue,

the claims involving conduct from 2016, 2017, and 2018 that are out of the case and the many

other alleged grievances she has against her employer. As stated, Plaintiff’s own social media

evidence reflects no emotional distress resulting from the non-renewal of her contract but instead


1
 Plaintiff has represented to the Court and Defendant that she will not testify or introduce evidence regarding her
pregnancy complications, and therefore any references to such events would be irrelevant and unduly prejudicial to
Defendant and contrary to her previous stipulation. (See Dkt. No. 81.)


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reflects the opposite emotion of happiness/relief and she thus cannot tie any stress from the non-

renewal to Defendant.

       As only lay witnesses have been disclosed and can be presented at trial, any evidence or

testimony as to causation of Plaintiff’s purported medical conditions should be excluded, as well

as evidence or testimony attempting to diagnose these unverified conditions.

       For the foregoing reasons, Defendant respectfully requests that the Court grant Defendant’s

Motion and exclude at trial any evidence, arguments, or references to: (1) any medical diagnoses

of Plaintiff; (2) purported or speculative diagnoses of Plaintiff; and (3) theories of causation of

Plaintiff’s medical diagnoses.    Defendant further requests the Court exclude any evidence,

testimony, or references to any condition extending beyond that which would normally be

considered “garden variety emotional distress,” such that Plaintiff should not be permitted to

reference conditions including general anxiety, sleeplessness, loss of self-esteem, depression, and

other behavioral or physical ailments, or any other unsubstantiated or irrelevant illness or

condition.” See Jackson v. Chubb Corp., 193 F.R.D. 216, 226 n.8 (D.N.J. 2000) (explaining view

that garden variety emotional distress does not require medical records, but a specific diagnosis

beyond garden variety distress would); Eggering v. MHP, Inc., 2011 WL 6029956, at *2 n.1 (E.D.

Mo. Dec. 5, 2011) (distinguishing the “ordinary and commonplace emotional distress” of garden

variety claims from complex distress resulting in a specific diagnosis). As such, Defendant

respectfully asks the Court to exclude testimony regarding Plaintiff’s purported emotional distress,

particularly where such testimony directly contradicts Plaintiff’s own statements regarding her

post-employment state of mind.




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           DEFENDANT’S MOTION IN LIMINE NO. 15 TO EXCLUDE
      EVIDENCE, DOCUMENTS, AND WITNESSES NOT TIMELY DISCLOSED

       Defendant hereby moves in limine to exclude any evidence, documents, and witnesses not

timely disclosed by Plaintiff. The discovery phase of this litigation initially closed on December

22, 2017 and the new discovery deadlines associated with Plaintiff’s new retaliation claim closes

on December 21, 2018. Any evidence, documents, and witnesses not timely disclosed, cannot

constitute admissible evidence of Plaintiff’s racial discrimination or retaliation claims, and should

be excluded.

       The Federal Rules of Civil Procedure prohibit Plaintiff from introducing at trial any witness,

legal theory, or evidence that was not disclosed during discovery in this case. Under Fed. R. Civ.

P. 26, parties are required to initially disclose contact information for “each individual likely to

have discoverable information—along with the subjects of that information—that the disclosing

party may use to support its claims or defenses,” as well as a copy or description of all materials

and things that the disclosing party has and may use to support its claims or defenses. Fed. R. Civ.

P. 26(a)(1)(A). Under Rule 26 and the Court’s Scheduling Order, parties are also required to

promptly disclose and file the name of each witness who may appear at trial and “an identification

of each document or other exhibit.” Fed. R. Civ. P. 26(a)(3). Such disclosures are to be timely

supplemented. Fed. R. Civ. P. 26(e).

       In her amended Rule 26 disclosures made in November 2018, Plaintiff attempted to add

individuals likely to have discoverable information relevant to the claims included in her First

Amended Complaint that should have been submitted prior to the close of discovery in 2017. Her

disclosures are so broad as to include any current or former employee of Defendant, adding up

to thousands of people. Even based on the named individuals alone, the trial would be extended

for weeks for such individuals to testify, for Defendant to cross examine them and submit rebuttal


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evidence. As far as witnesses or documents that are relevant to the claims in her First Amended

Complaint but that were only disclosed in November 2018, Plaintiff failed to timely supplement

her disclosures, and she should not be permitted to rely on this evidence. Additionally, though

discovery closed in December 2017, Plaintiff submitted supplemental Rule 26 disclosures in

January 2018 that were not disclosed in a timely fashion or even prior to the close of discovery for

her initial case in December, 2017. Her current disclosures mimic the previous disclosures made

after the close of discovery and double-down to add even more individuals.

       There is nothing indicating Plaintiff’s failure to supplement was justified or harmless. For

example, Plaintiff adds in her supplemental Rule 26 disclosures: “Any current and prior employees

not already referenced not (sic) listed.” This listing—while objectionable in its own right—could

easily have been included in her Rule 26 disclosures made March 10, 2017.

       “The power of the trial court to exclude exhibits and witnesses not disclosed in compliance

with its discovery and pretrial orders is essential to the judge’s control over the case.” Certain

Underwriters at Lloyd’s v. SSDD, LLC, No. 4:13-CV-193 CAS, 2014 WL 3384703, at *3 (E.D.

Mo. July 10, 2014) (quoting Sellers v. Mineta, 350 F.3d 706, 711 (8th Cir. 2003)). The Eighth

Circuit holds that delays in disclosing or supplementing discovery are not “substantially justified”

when they reasonably could have been avoided. E.g., Marmo v. Tyson Fresh Meats, Inc., 457 F.3d

748, 759-60 (8th Cir. 2006) (identifying witness after deadline is prohibited when the party had

“ample opportunity to develop” the issue and should have sought to supplement). The Eighth

Circuit further recognizes that failures to disclose, which unduly prejudice the opposing party, are

“harmful.” E.g., Troknya v. Cleveland Chiropractic Clinic, 280 F.3d 1200, 1205 (8th Cir. 2002)

(affirming district court’s grant of motion in limine excluding undisclosed discovery, finding that

“use of the undisclosed witnesses and exhibits would have unfairly prejudiced [the opposing party]




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at trial, even if the witnesses and exhibits had been identified or referenced somewhere in the

course of discovery.”).

       Here, if Plaintiff is permitted to introduce any untimely or undisclosed witness testimony

or exhibits, Defendant would be severely prejudiced and the order and efficiency of this case’s

trial would be disrupted. Sappington v. Skyjack Inc., No. 04-5076-CV-SW-FJG, 2008 WL 895222,

at *7 (W.D. Mo. Mar. 27, 2008) (granting motion in limine excluding “[a]ny information,

testimony, evidence, or documents not produced in discovery.”). More specifically, Plaintiff

should be barred from introducing any testimony or exhibits related to:

       a.      additions made in her Rule 26 Supplemental Disclosures dated January 24, 2018
               and November 14, 2018 that include the same individuals who should have been
               disclosed prior to the close of discovery in 2017;

       b.      any as-yet-undisclosed witness; and

       c.      any undisclosed evidence on Plaintiff’s exhibit list.


       For the foregoing reasons, Defendant respectfully requests that the Court grant Defendant’s

Motion and exclude, at trial, any testimony, legal theories, or exhibits of Plaintiff that were not

disclosed to Defendant during discovery in this case.

            DEFENDANT’S MOTION IN LIMINE NO. 16 TO EXCLUDE
           REFERENCES TO THE SIZE, RESOURCES, OR LOCATIONS
      OF DEFENDANT’S WITNESSES, REPRESENTATIVES, OR ITS COUNSEL

       Initially raised in its Motion in Limine of April 10, 2018, Defendant hereby moves again

in limine, and respectfully requests a ruling to exclude any evidence, arguments, or references to

any evidence related to the composition of Defendant’s trial team, including the size or resources

of its legal counsel, Dentons US LLP and Baker & Hostetler LLP, or the state or county of

residence of Defendant’s witnesses, corporate representative(s), or counsel.




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       Evidence relating to the size, composition, or resources of Defendant’s legal counsel,

Dentons US LLP and Baker & Hostetler LLP, or the out-of-state residence of Defendant’s

corporate representative or counsel would not be relevant to any issues in this case. Fed. R. Evid.

401. Such references or evidence have no tendency to make any fact more or less probable, or to

clarify any remaining issues to be tried in this case. Id. As such, any references or evidence are

also inadmissible. Fed. R. Evid. 402.

       Further, admission of such evidence would be unduly prejudicial to Defendant. Fed. R.

Evid. 403. Such evidence could mislead the jurors into considering matters outside of the relevant

facts and issues in this action, or into developing biases against Defendant. Moreover, admission

of such evidence would cause undue delay and time waste during trial. Courts thus regularly

exclude such references and evidence as irrelevant and/or prejudicial. See, e.g., Winter v. Novartis

Pharm. Corp., No. 06-4049-CV-C-MJW, 2012 WL 827245, at *4 (W.D. Mo. Mar. 8, 2012)

(precluding plaintiff from referencing defendant’s corporate structure or that it was “a Swiss

company and that ‘they are not one of us’”); Sappington v. Skyjack Inc., No. 04-5076-CV-SW-

FJG, 2008 WL 895222, at *2–3 (W.D. Mo. Mar. 27, 2008) (excluding evidence, testimony, and

argument relating to fact that defendant was Canadian company and to “[t]he wealth, poverty, or

financial position of any party”); I-Sys., Inc. v. Softwares, Inc., No. CIV.021951 (JRT/FLN), 2005

WL 1430323, at *7–8 (D. Minn. Mar. 7, 2005) (“excluding evidence and testimony relating to the

corporate history of [the plaintiff] and to its recent incorporation in Canada” because evidence “at

best, only tangentially relevant and, as such, was more prejudicial and potentially confusing to the

jury than probative”).

       Accordingly, Plaintiff should not be permitted to introduce any evidence, testimony, or

arguments related to the following irrelevant topics:




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              The state or county of residence of Defendant’s witnesses, corporate
               representative(s), or counsel;

              The fact that Dentons US LLP is the largest law firm in the world or one of the
               largest law firms in the United States;

              Any reference to the fact that some of Defendant’s attorneys are located outside the
               state of Missouri; in Ohio; in Texas; or, specifically, in Cincinnati, Ohio;

              The composition of Defendant’s trial team or their respective dates of entry of
               appearance as counsel;

              Any other references to the size, financial condition, or resources of Dentons US
               LLP or Baker & Hostetler LLP; and

              Any references to the resources of Plaintiff or her counsel relative to the resources
               of Defendant or its counsel, including the respective number of attorneys at counsel
               table and/or in the courtroom at trial.

       None of the foregoing information is relevant to any issue in this case, and there is no

legitimate basis for introducing or referring to such information in any way at trial. See Hale Cnty.

A&M Transp., LLC v. City of Kansas City, Mo., No. 4:12-CV-00265-DGK, 2014 WL 545779, at

*5 (W.D. Mo. Feb. 11, 2014) (excluding “[e]vidence concerning the size of law firms representing

Plaintiff and Defendant”; “[s]tatements referring to the comparative net worth, wealth, or power

of Plaintiff and Defendant”; and “[d]erogatory references to [a party] because of its corporate or

out-of-state status”). Accordingly, the Court should enter an order precluding Plaintiff from

mentioning any information related to the size, composition, corporate structure, resources, and

locations of any non-party, Dentons US LLP, or Baker & Hostetler LLP. While the Court may

assume that Plaintiff’s counsel would not attempt to make derogatory reference to location of

counsel/Defendant or alleged “outsiders,” Plaintiff’s counsel has continued to do so in the

discovery of this action involving Plaintiff’s new case of retaliation in 2018. The Court should

direct that the geographic origin of Defendant or its counsel has no relevance to this case and

preclude such references in that it has the tendency to prejudice the jury against “outsiders.”


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For the foregoing reasons, Defendant respectfully requests that the Court grant Defendant’s

Motion and exclude, at trial, any evidence, arguments, or references relating to the size,

composition, or resources of its legal counsel, Dentons US LLP and Baker & Hostetler LLP, or

the state or county of residence of Defendant’s witnesses, corporate representative(s), or counsel.

           DEFENDANT’S MOTION IN LIMINE NO. 17 TO EXCLUDE
    EVIDENCE RELATED TO DISCRIMINATION NOT ALLEGED BY PLAINTIFF

         Defendant moves to exclude any evidence, testimony, or references thereto at trial to the

introduction of any evidence, arguments, or reference to evidence that purportedly demonstrates

discrimination which is allegedly based on national origin, disability, color, religion, sex, age,

marital or parental status, or pregnancy or other alleged instances of race discrimination not

involving the alleged discriminatory failure to promote Plaintiff to the May 2015 investigative

reporter position would be irrelevant as it fails to make Plaintiff’s claims of race discrimination

and retaliation2 more or less probable, and is not probative of discrimination based on race. Fed.

R. Evid. 402. The same is true for any instances of alleged retaliation other than the May 2015

and 2018 retaliation claims that remain in the lawsuit.

         Any probative value of evidence that Plaintiff suffered other discrimination or retaliation

is outweighed by the danger such evidence poses in creating prejudice, confusing the issues, or

misleading the jury. Claims related to any of these protected characteristics have "an undue

tendency to suggest decision on an improper basis, commonly, though not necessarily, an

emotional one," creating an unfair prejudice against Defendant. United States v. Dennis, 625 F.2d

782, 796-797 (8th Cir. 1980).


2
  To prove retaliation, Plaintiff does not need to prove that she was actually discriminated against. See, e.g., Buettner
v. Arch Coal Sales Co., Inc., 216 F.3d 707 (8th Cir. 2000) ("A finding of unlawful retaliation, however, is not
conditioned on the merits of the underlying discrimination complaint."). Therefore, only evidence that has a tendency
to show Plaintiff was retaliated against because she engaged in protected activity is relevant and admissible for her
retaliation claim.


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        Claims of discrimination and retaliation are pernicious and inflammatory, and any evidence

presented is likely to invoke an emotional bias from the jury against Defendant and its employees.

Evidence or testimony relating to discrimination or retaliation not being claimed would

unavoidably be conflated by the jury with Plaintiff’s racial discrimination and retaliation claims.

Moreover, such evidence would confuse the jury because they are not being asked to decide

whether Defendant allegedly discriminated on a basis other than race or retaliation for the existing

claims and the jury could not compartmentalize “other evidence of race/retaliation” from that for

which they are permitted to consider as part of her claims. This Court should prevent any irrelevant

evidence and/or any evidence that would result in undue prejudice, confusion, or else be

misleading by excluding any purported evidence that Defendant discriminated against Plaintiff or

retaliated in connection with any instances other than the remaining claims in the lawsuit.

             DEFENDANT’S MOTION IN LIMINE NO. 18 TO EXCLUDE
        REFERENCES TO ADAM SYMSON’S JUNE 28, 2018 EMAIL ENTITLED,
                         “Here’s what’s on my mind”


        Defendant hereby moves in limine to exclude any evidence, testimony, or references

thereto at trial which relate to Scripps’ CEO Adam Symson’s June 28, 2018 email entitled, “Here’s

what’s on my mind.” The Court should exclude this and any other alleged evidence Plaintiff offers

from the time after the non-renewal of Plaintiff’s contract for the reasons set forth in Defendant’s

Motion in Limine number 2, but Defendant separately moves in limine concerning Plaintiff’s

reference to Defendant’s CEO to highlight additional reasons for the exclusion of this evidence.

        Defendant anticipates that Plaintiff will seek to introduce at trial, a June 28, 2018 email

from Scripps’ CEO,3 Adam Symson to Scripps’ employees, entitled, “Here’s what’s on my mind.”

3
 See Sellers v. Deere & Co., No. C12-2050, 2014 WL 59928, at *1 (N.D. Iowa Jan. 7, 2014), on reconsideration in
part, No. C12-2050, 2014 WL 468242 (N.D. Iowa Feb. 5, 2014); Serrano v. Cintas Corp., 699 F.3d 884, 900 (6th Cir.



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Defendant attaches for the Court’s reference the email in question that Plaintiff has used in

depositions in this case. See Exhibit D, attached hereto. In the email, Mr. Symson references,

among other things, the percentages of women and minority representation in newsrooms across

the country and acknowledges that as a company, Scripps, is on par with these numbers, but that

there is continued work to be done in this regard. Mr. Symson goes on to describe some of the

ways in which he is both professionally and personally committed to reflecting both his own, and

Scripps’ commitment to diversity. While Mr. Symson’s email is commendable and his personal

and professional efforts should be lauded, Plaintiff cynically seeks to use Mr. Symson’s email to

suggest that it is somehow an “admission of liability” and/or a response to her lawsuit and

somehow evidences that Scripps discriminated against her in the past, and only seeks newsroom

diversity now, as some sort of penance for its past indiscretions toward her. Mr. Symson’s email

is no such admission and will be offered only for the purposes of prejudicing the jury with

“evidence” that post-dates Plaintiff’s employment, is not relevant to the litigation, and is intended

only to anger, inflame and confuse the jury. As an initial matter, the evidence must be excluded

because the 2018 discovery period has been reopened only to address Plaintiff’s 2018 retaliation

claim.

         Moreover, evidence of action taken by Scripps after Plaintiff’s employment ended, namely,

Mr. Symson’s decision to address Scripps’ employees on the important issue of diversity within

the industry and the company, is not relevant and Plaintiff’s intent to refer to it is plainly improper.

Furthermore, by its plain language, Mr. Symson’s June 28, 2018 email does not constitute evidence

of any admission that the decision not to renew Plaintiff’s contract was discriminatory or



2012) (discussing factor under the Apex doctrine requiring that executive have unique and special knowledge of the
facts at issue).



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retaliatory. To the contrary, Mr. Symson’s email suggests nothing more than that Scripps’ goal is

to better promote diversity in its newsrooms than the rest of the media industry as a

whole. Accordingly, Mr. Symson’s email cannot in any way be construed as direct evidence of

discrimination or retaliation because it does not clearly and unmistakably demonstrate

discrimination or retaliation. See Hutton v. Maynard, 812 F.3d 679, 683-684 (8th Cir. 2016)

(holding direct evidence requires statements of discriminatory intent without the need for

inferences); Moody v. Vozel, 771 F.3d 1093, 1096-1097 (8th Cir. 2014) (finding that statements

are not direct evidence of discrimination when they are not made by a decision maker and no link

has been shown between the statement and the adverse employment action).

        Further, Mr. Symson’s email is not relevant because it was made by someone who is not

alleged to have played any role in the decision not to renew Plaintiff’s Employment Agreement.

Because the email was penned by someone who had no part in the decision not to renew Plaintiff’s

contract, and does not refer to or relate to Plaintiff in any way, it is not relevant to Plaintiff’s claims.

The email cannot constitute evidence of retaliation or discrimination. Twymon v. Wells Fargo &

Co., 462 F.3d 925, 933 (8th Cir. 2006) (quoting Browning v. President Riverboat Casino-Missouri,

Inc., 139 F.3d 631, 635 (8th Cir. 1998) (quoting Price Waterhouse v. Hopkins, 490 U.S. 228, 277

(1989) (O’Connor, J., concurring); see also Veliz v. City of Minneapolis, 2008 WL4544433, at *1,

(D. Minn. Oct. 9, 2008) (excluding non-decision maker’s statements under Rules of Evidence 401

and 403 when decision maker made no such alleged retaliatory statements). Moreover, the email

was sent twenty-one days after the non-renewal decision and as such, could not have played any

role in the decision not to renew her Employment Agreement—a decision Plaintiff claims was

retaliatory. Logically, matters occurring after the Plaintiff’s separation from Scripps cannot be

relevant to her claim, nor can any such matters support her burden of proving retaliation because




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such burden can only be supported by actions that occurred at the time of (not after) the allegedly

retaliatory act occurred. Green v. City of St. Louis, Mo., 507 F.3d 662, 669 (8th Cir. 2007) (holding

trial court did not abuse discretion in holding post-termination statements were not relevant to

earlier termination); Jordan v. U.S. Bank, 2008 WL 2783229, at FN 1 (E.D. Mo. July 15, 2008)

(excluding paragraphs from submitted Statement of Facts because the events occurred post-

termination and therefore were not relevant to the termination); see also Bowie v. Maddox, 642

F.3d 1122, 1134-1135 (D.C. Cir. 2011).

       Finally, pursuant to Federal Rule of Evidence 403 the email should be excluded because

the introduction of such evidence is sought only to improperly influence the jury to incorrectly

determine that Scripps has somehow, through its CEO’s June 28, 2018 email, “admitted” liability.

Anderson v. Consolidated Rail Corp., 2000 WL 1201534, at *3 (E.D. Penn. Aug. 9, 2000) (finding

corporate planning document not relevant when there was no evidence that document was seen by

decision makers or that document factored into decisional process). Such is not the case, and the

improper admission of this email would necessarily lengthen the trial beyond two weeks, require

even more witnesses from Defendant to rebut the allegations asserted by virtue of its use, and

would, respectfully, result in a mistrial. Further, evidence sought to be introduced through Mr.

Symson’s email is of limited probative value and outweighed by a likelihood of unfair prejudice,

confusion of issues, misleading of the jury, and by considerations of undue delay, waste of time,

and needless presentation of cumulative evidence. Mr. Symson is not listed as a witness by either

party and is not involved in this lawsuit.




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       For the foregoing reasons, Defendant respectfully requests that the Court grant Defendant’s

Motion and exclude, at trial, any evidence, testimony, or references thereto which concern Scripps’

CEO Adam Symson’s June 28, 2018 email.

 DEFENDANT’S MOTION IN LIMINE NO. 19 TO EXCLUDE REFERENCES TO THE
   PROMOTION OF AN IN-HOUSE EMPLOYMENT LAWYER TO THE TITLE OF
  VICE-PRESIDENT, EMPLOYMENT AND LABOR LAW, AND CHIEF DIVERSITY
   OFFICER AND/OR ANY REFERENCES TO THE HIRING OR PROMOTION OF
                OTHER AFRICAN-AMERICAN EMPLOYEES



       Plaintiff has argued in discovery that the April, 2018 promotion of Ms. Wright, a long-time

in house counsel to the above title is somehow direct evidence of retaliation. As this motion in

limine illustrates, Defendant has had to defend against a plethora of wrong-headed discovery and

arguments during the whirlwind discovery phase of this case. The promotion of Ms. Wright, an

African-American, to this role, cannot in any logical way constitute evidence of retaliation or

discrimination against Plaintiff. The promotion or hiring of an African-American can in no way

clearly and unmistakably demonstrate discrimination or retaliation against Plaintiff, an African-

American. Hutton v. Maynard, 812 F.3d 679, 683-84 (8th Cir. 2016). Plaintiff has also made the

related argument that the hiring or promotion of other African-Americans at the station somehow

is probative of her discrimination and retaliation claim. Nothing could be further from the truth,

both logically and legally. Ms. Wright’s promotion also occurred before the discovery period was

opened up and prior to Plaintiff’s retaliation claim arose for which discovery was opened up. Ms.

Wright’s promotion cannot be added to this claim as it predated the new claim. Plaintiff must be

precluded from any reference to the promotion of Ms. Wright and/or to the hiring or promotion of

any other African-American employee. Such “evidence” turns the standard Plaintiff must prove

in this case on its head and would clearly confuse the issues and prejudice Defendant unduly under



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Rule 403. Allowing this evidence would result in a series of mini trials concerning the promotion

of Ms. Wright and her qualifications and reasons for the promotion as well as the decision making

behind the hiring and promoting of other African Americans Plaintiff seeks to attack as somehow

discriminatory and/or retaliatory.

        DEFENDANT’S MOTION IN LIMINE NO. 20 TO EXCLUDE
REFERENCES TO OTHER KSHB EMPLOYEES’ FAILURE TO GRANT FACEBOOK
        ADMINISTRATIVE RIGHTS TO STATION MANAGEMENT

       Defendant hereby moves in limine to exclude any evidence, documents, and testimony

regarding other KSHB employees’ alleged failure to grant administrative rights to Station

management. Defendant anticipates that Plaintiff will seek to introduce evidence post-dating

Plaintiff’s employment that Defendant sought to actively obtain the Facebook administrative rights

to the professional Facebook pages of a number of KSHB employees after Plaintiff’s contract was

not renewed. Plaintiff will seek to introduce evidence that Defendant did not consistently enforce

its Social Media Policy. Such evidence however is not relevant and confuses the issues. Plaintiff,

even though she did not grant administrative rights to Station management, was not disciplined for

this failure. Further, the alleged failure to grant administrative rights to one’s professional

Facebook page is not equivalent to a violation of the Social Media Policy for posting offensive

content based on race and sex for which co-workers complain. Further, the Social Media Policy

references termination only for the portion of the policy violation involving the conduct for which

Plaintiff engaged and Defendant has the right to treat issues involving race and sex for which

complaints are received with a zero tolerance approach. Plaintiff’s offering of this evidence seeks

to put each KSHB witness who is also a station employee on trial and prejudices Defendant by

way of improper comparisons. Gacek v. Owens & Minor Distribution, Inc., 666 F.3d 1142, 1147

(8th Cir. 2012) (refusing to consider the discipline of other employees for violations of the same



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policies because their conduct was not of “comparable seriousness” with plaintiff’s conduct). As

such, Defendant respectfully requests that any evidence of KSHB employee’s failure to grant

administrative rights to management for their professional pages be excluded.

        DEFENDANT’S MOTION IN LIMINE NO. 21 TO EXCLUDE
 REFERENCES TO POTENTIAL INSURANCE COVERAGE FOR ANY DAMAGES
AWARDED TO PLAINTIFF OR REFERENCE TO ANY INTEREST OF DEFENDANT
                   IN SETTLING THE LAWSUIT

       Defendant hereby moves in limine to exclude any evidence, documents, and witness

testimony regarding the potential that insurance coverage might cover any damages awarded to

Plaintiff. Such evidence is prejudicial and has the tendency to influence jurors to punish Defendant

disproportionally or because of a belief that a damages award will be paid by insurance and that

consequently, it will not hurt Defendant if Plaintiff is “given something” for the trouble of taking

the case to trial. See Fed. R. Evid. 411; Charter v. Chleborad, 551 F.2d 246, 248 (8th Cir. 1977)

(recognizing that the existence of a liability insurance policy is not permitted as evidence of

wrongful conduct because it “is of questionable probative value or relevance and is often

prejudicial”).   The same is true to the extent that Plaintiff references any alleged interest by

Defendant to settle the case which could prejudice Defendant by creating the wrong impression

that Defendant believes it has liability/exposure and has interest in settling for that reason. Any

such evidence is prejudicial and should be expressly excluded by the Court.

            DEFENDANT’S MOTION IN LIMINE NO. 22 TO EXCLUDE
        REFERENCES TO PLAINTIFF’S ALLEGED COVERAGE OF THE KKK

       Defendant hereby moves in limine to exclude any evidence, documents, and witness

testimony regarding Plaintiff’s coverage of a KKK-related news story in 2010. Such evidence is

outside the statute of limitations, prejudicial, and highly inflammatory. United States v. Betcher,

534 F.3d 820, 825 (8th Cir. 2008) (“Evidence which is ‘so inflammatory on its face as to divert



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the jury's attention from the material issues in the trial is unfairly prejudicial.” (quoting United

States v. Johnson, 463 F.3d 803, 809 (8th Cir. 2006)). That Plaintiff was assigned a story well

beyond the limitations period and by a manager who is no longer with the Station is not relevant

to the discrimination and retaliation claims she now maintains. The managers in this case had

nothing to do with such assignment and this evidence, if ever admissible, related to Plaintiff’s now-

dismissed hostile work environment claim. Moreover, a work assignment (even if tough, difficult

or challenging) is not an adverse employment action that can support a discrimination claim, Allen

v. Johnson, 2014 WL 7334901, at *11 (M.D. La. Dec. 19, 2014) (assigned task of cleaning out

trailer, a regular assignment for employee’s position, was not discriminatory), particularly,

whereas here the decision makers regarding the story assignment would have been made by

management who left the Station long before the alleged activity giving rise to Plaintiff’s current

claims. Roddy v. Monsanto Co., 6 Fed. App’x 549, 553 (8th Cir. 2001) (affirming exclusion of

“background evidence . . . [that] had no clear connection with [employer’s] decisionmakers within

that time frame”). Consequently, any evidence offered about Plaintiff’s assignment to cover a

KKK member in 2010 is prejudicial and should be expressly excluded by the Court.

           DEFENDANT’S MOTION IN LIMINE NO. 23 TO EXCLUDE
       REFERENCES TO PLAINTIFF’S COVERAGE OF THE “URBAN CORE”

       Defendant hereby moves in limine to exclude any evidence, documents, and witness

testimony regarding Plaintiff’s coverage of what she describes as the “urban core” of the Kansas

City news market. Plaintiff has no claim concerning such an assignment, which, if ever relevant,

was part of her hostile work environment claim. Moreover, work assignments (even if tough,

difficult or challenging) are not adverse employment actions that can support a discrimination

claim. See Allen, 2014 WL 7334901, at *11. Consequently, any evidence offered about Plaintiff’s

assignment to Kansas City’s so-called “urban core” is prejudicial and should be expressly excluded


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by the Court. Sommerfield v. City of Chicago, 863 F.3d 645, 649 (7th Cir. 2017) (affirming district

court’s exclusion of what plaintiff alleged were undesirable assignments because “it was hard to

see how the staffing decisions reflect discrimination at all”). Such evidence would only serve to

prejudice Defendant under Rule 403 and would lengthen and complicate the trial to a discussion

involving various assignments of reporters over the years for various reasons involving multiple

people not involved in the case. Consequently, any evidence offered about Plaintiff’s assignments

in what she calls to the “urban core” should be excluded.

         DEFENDANT’S MOTION IN LIMINE NO. 24 TO EXCLUDE
  REFERENCES TO PLAINTIFF BEING REQUIRED TO MMJ WHILE PREGNANT

       Defendant hereby moves in limine to exclude any evidence, documents, and witness

testimony regarding Carla Kreeger’s refusal to reassign Plaintiff’s scheduled MMJ assignment in

2016 while Plaintiff was pregnant.      Defendant anticipates that Plaintiff will argue that her

assignment to MMJ—meaning to both shoot her own video footage and report on a news story—

while pregnant is evidence of discriminatory treatment by Defendant. That Plaintiff was given an

assignment, which was not subsequently reassigned at Plaintiff’s request, by a manager who is no

longer with the Station is not relevant to the discrimination and retaliation claims she now

maintains. This evidence is simply irrelevant in that it involves a person not a decisionmaker, and

Plaintiff does not have a hostile work environment claim. Moreover, a work assignment (even if

tough, difficult or challenging) is not an adverse employment action that can support a

discrimination claim. See Allen, 2014 WL 7334901, at *11. Moreover, to suggest that the

assignment should not have been given to her because she was pregnant at the time has the

tendency to confuse the jury to believe they may be deciding on a pregnancy discrimination claim

when no such claim exists in the case. As such, any evidence that Plaintiff had an undesirable




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work assignment while pregnant should be expressly excluded by the Court. See Littleton, 568

F.3d at 648; Allen, 2014 WL 7334901, at *11.

        DEFENDANT’S MOTION IN LIMINE NO. 25 TO EXCLUDE
REFERENCES TO PLAINTIFF’S ALLEGED PURSUIT OF THE ANCHOR POSITION
                WHICH LINDSAY SHIVELY RECEIVED

         Defendant hereby moves in limine to exclude any evidence, documents, and witness

testimony regarding Plaintiff’s alleged pursuit of the anchor position which Lindsay Shively

received in 2015. Any such failure to promote claim has been previously dismissed by this Court.

(Dkt. No. 115; Dkt. No. 215.) Indeed, the Court has previously indicated that the only remaining

claims in the case are (1) the 2014 Leadership Champion4 position; (2) the May 2015 suspension;

(3) the investigative reporter position and (4) the 2018 paid suspension and contract non-renewal.

(Dkt. No. 115; Dkt. No. 215.) No other claims exist in the case and as such, should not be offered

as evidence of discrimination. Defendant has relied on this Court’s Order that the claim involving

Ms. Shively’s position was out of the case and planned its discovery strategy accordingly. That

Plaintiff was not promoted to the anchor position which Ms. Shively received is no longer at issue

in this case and to introduce any evidence on this issue, previously decided by the court, would be

confusing to the jury and highly prejudicial to Defendant who would have to prepare to defend

itself against a claim that the Court has already dismissed as a matter of law. Littleton, 568 F.3d

at 648. Any references by Plaintiff to this position would needlessly extend the trial, forcing

Defendant to call Ms. Shively and other witnesses and evidence to defend against matters that are


4
  As indicated above, Defendant does not believe that the Leadership Champion position should remain in the case as
Plaintiff has associated no damages with this allegation and did not mention the Leadership Champion position at her
deposition when questioned concerning what claims she was asserting. When specifically asked to detail her claim
for damages in this case, Plaintiff did not identify the Leadership Champion position nor associate any damages with
it. (Plaintiff’s Responses to Defendant’s First Interrogatories, Answer to Interrogatory No. 10). Without a claim for
damages, the Court lacks jurisdiction to entertain such a claim. Advantage Media, L.L.C. v. City of Eden Prairie, 456
F.3d 793, 803 (8th Cir. 2006) (indicating a plaintiff must be injured in some way to have standing to pursue its claims);
see also M.W. ex rel. Williams v. Avilla R-XIII School Dist., 2011 WL 3354933 at *3 (W.D. Mo. Aug. 3, 2011) (holding
that plaintiffs could not pursue claims where they could not allege damages resulting from those claims).


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not in the lawsuit. Consequently, any evidence offered which would suggest that Plaintiff

maintains a failure to be promoted to the anchor position Lindsay Shively received in Spring 2015

is prejudicial and should be expressly excluded by the Court.

    DEFENDANT’S MOTION IN LIMINE NO. 26 TO EXCLUDE REFERENCES TO
                 MEDIA COVERAGE DURING THE TRIAL

      Any reported coverage of this case in the media, whether in print, broadcast, or social media,

is properly excluded as inadmissible hearsay pursuant to Fed. R. Evid. 802. This evidence would

also be irrelevant given it has no tendency to make any fact more or less probable. Because this

evidence would be irrelevant, it must be excluded. Fed. R. Evid. 402. Such evidence or references

to media coverage would also be unnecessarily duplicative wherein they only serve to confuse the

jury, or prejudice Defendant, where it imprints statements or observations by a third party not

expressed at trial.   Because this evidence would be needlessly duplicative, confusing and

prejudicial, and because it has no probative value, it must be excluded. Fed. R. Evid. 403.

Accordingly, Plaintiff should be precluded, at trial, from referring to any evidence, testimony, or

references thereto concerning media coverage of this case.

     DEFENDANT’S MOTION IN LIMINE NO. 27 TO EXCLUDE EVIDENCE OR
       ALLEGATIONS RELATING TO THIS COURT'S IN LIMINE RULINGS
                     CONCERNING TAX RETURNS

        Plaintiff told this Court on April 10, 2018:

        “[A]ny attempt to touch on a legal ruling could lead to unfair prejudice and misleading

 the jury.” (Dkt. No. 122 at p. 2.) The same is true for any attempt by Plaintiff to reference this

 Court’s previous rulings or views prohibiting Defendant’s efforts to introduce Plaintiff’s tax

 return information for its bearing on Plaintiff’s credibility and/or any attempt by Plaintiff to

 reference the Judge’s rulings prohibiting discovery on tax returns, financial information, or any




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other rulings or leanings by the Judge concerning tax information or any other evidence in the

case.

        Any reference to this Court's legal ruling on the tax return issue would unfairly prejudice

Defendant. Plaintiff cannot be heard to suggest otherwise—she informed the Court on April 20

that references to the Court’s legal ruling would unfairly prejudice and mislead the jury. Neither

Plaintiff’s views concerning the significance of the tax return issue nor the Court’s rulings

relating to the tax return issue is relevant to the Jury’s decision. Any such reference to the

Court’s legal rulings would serve only to impugn Defendant's business judgment concerning

Plaintiff's tax return misconduct and its impact on her credibility as a reporter under her

employment contract by arguing that the Court already determined in its judgment that such tax

return issues do not impact her credibility. The law not only permits Defendant to exercise its

business judgment concerning this matter, but Plaintiff’s Employment Contract (which she

signed while represented by counsel in August 2017) also grants Defendant additional rights to

not renew her employment contract in its discretion for good, bad, or no reason at all. Any

reference by Plaintiff to this Court’s legal rulings concerning the tax returns and/or reference to

the Judge “prohibiting KSHB from pursuing the tax return issue” must be excluded. Such a

reference would create the unfairly prejudicial impression that the Court disagrees with

Defendant's judgment. This is tantamount to making the Court's legal ruling evidence and even

presenting the Court as a witness to whom Defendant would be powerless to cross examine or

impugn. Plaintiff's contract with Defendant and its interpretation of that contract govern its

rights to not renew the contract based on its view of her credibility and how her actions impact

other provisions of that contract. Plaintiff’s reference to the Court’s view of the tax return is not

only irrelevant but also would substantially prejudice Defendant unfairly under Rule 403.




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Plaintiff's reference to the Judge’s rulings and/or views on the tax return issue is tantamount to

commenting on the evidence and would reflect an appearance that the Court is not disinterested

in the evidence. The law does not permit Plaintiff to bootstrap herself to the credibility of this

Court in an effort to prove her claim and her reference to the Court's in limine ruling must be

precluded.

    DEFENDANT’S MOTION IN LIMINE NO. 28 EXCLUDING EVIDENCE OR
   ALLEGATIONS DEFENDANT ACTED WRONGFULLY OR IMPROPERLY BY
   RELYING ON EVIDENCE OF PLAINTIFF’S TAX INFORMATION THAT WAS
          LEARNED DURING THE PENDENCY OF THIS LAWSUIT

        Plaintiff’s counsel at various times has suggested the incorrect legal view that Defendant

was precluded from acting upon the information concerning Plaintiff’s tax filing filings because

it was learned during the pendency of this lawsuit. In later briefing, however, Plaintiff conceded

that the law does not somehow require Defendant to not act on such tax information just because

it was learned as result of Plaintiff's lawsuit. See Dkt. No. 202 at 13. Indeed, the law is clear that

employers are not precluded from terminating an employee even for conduct "inextricably

intertwined" with protected activity. Weesner v. U.S. Bancorp, 2011 WL 4471765 (D. Minn.

2011) at * 11 (citing Alvarez, 626 F.3d 410, 417 (8th Cir. 2010). The en banc Eighth Circuit

held in Kiel v. Select Artificials, Inc., 169 F.3d 1131, 1136 (8th Cir. 1999), that "[a]lthough

contesting an unlawful employment practice is protected conduct, the anti- discrimination

statutes do not insulate an employee from discipline for violating the employer's rules or

disrupting the workplace." Any argument or evidence concerning the fact that the tax

information concerning Plaintiff's personal tax returns “only became known to KSHB during

her pending lawsuit" falsely reflects that information learned in a lawsuit is somehow off limits

to the employer. Such an argument is contrary to the above authority and to the Supreme Court’s

McKennon case and its progeny, among others. Arguments or evidence by Plaintiff at the trial



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along these lines do not "present a cognizable legal theory" by Plaintiff's own concession and

any such evidence or commentary must be precluded at trial. McKennon v. Nashville Banner

Publishing Co., 513 U.S. 252 (1995); Young v. City of St. Charles, 244 F.3d 623, 627 (8th Cir.

2001). Plaintiff therefore must be precluded in limine from offering evidence or allegations that

Defendant was somehow obligated to demonstrate “examples” of disciplining other individuals

for tax violations and/or to seek and/or review tax filing/tax return information from other

employees before not renewing Plaintiff’s contract for her admitted tax failures.

 DEFENDANT’S MOTION IN LIMINE NO. 29 TO EXCLUDE ARGUMENT AND/OR
   EVIDENCE INDICATING THAT DEFENDANT ACTED UNLAWFULLY OR
WRONGLY BY NOT DEMONSTRATING OTHER EXAMPLES OF TAKING ACTION
 AGAINST EMPLOYEES CONCERNING TAX RETURNS AND/OR SEEKING OUT
               TAX INFORMATION FROM EMPLOYEES

       As the Eighth Circuit indicates, employers are not required to demonstrate examples of

enforcing policy violations against employees other than Plaintiff. See, e.g., Evance v. Trumann

Health Services, LLC, 719 F.3d 673, 678 (8th Cir. 2013); Barber v. CI Truck Driver Training,

LLC, 656 F.3d 782, 795 (8th Cir. 2001); Wheeler v. Aventis Pharmaceuticals, 360 F.3d 853, 859

(8th Cir. 2004). Any argument or evidence from Plaintiff along these lines is not only irrelevant

but unduly prejudicial against Defendant under Rule 403 in that it misstates the law and implies

a duty where none exists. Further, such argument and evidence is misleading and confuses the

issues in that Plaintiff’s contract actually requires her compliance with the law, which includes

the tax laws. Not all employees for Defendant are on air personalities and not all employees for

Defendant have Plaintiff’s contractual obligations. The fact that Plaintiff has a pending lawsuit

against the company and is seeking damages provided Defendant with a legitimate reason to

inquire concerning her tax returns. Tax returns are a source of income to verify alleged damages

and Plaintiff placed her income at issue by suing Defendant and seeking damages. Even if the

Court disagrees that tax returns are relevant or admissible in an employment case for credibility,


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damages, or for any other reason, there is plethora of legal authority suggesting otherwise. No

authority exists for the proposition that inquiry of an employee concerning tax returns is

inappropriate unless the employer has inquired of other employees concerning their tax filing

status. Such an argument fails to recognize that employees who are seeking damages from the

employer are simply not similarly situated to employees who are not seeking damages from the

employer. Any attempt by Plaintiff to introduce such evidence or argument is not only irrelevant,

but unduly prejudices Defendant under Rule 403. The employer has the right, but not obligation,

to act on information it discovers during a current employee’s lawsuit when the information has

a bearing on the decision to renew the employee’s contract. Any other result would mean that

employees who file lawsuits receive greater rights because the lawsuit would mean the employer

has to ignore information learned during that lawsuit. Such a result is not the law. Even if the

employer learned the information upon which it acted as part of Plaintiff’s protected activity—

such as, for example, complaining of discrimination or submitting FMLA paperwork—such a

source of knowledge that is inextricably intertwined with protected activity does not render the

knowledge somehow “off limits” to the employer. Indeed, the law is clear that employers are

not precluded from terminating an employee even for conduct "inextricably intertwined" with

protected activity. Weesner v. U.S. Bancorp, 2011 WL 4471765 (D. Minn. 2011) at * 11 (citing

Alvarez, 626 F.3d 410, 417 (8th Cir. 2010). The en banc Eighth Circuit held in Kiel v. Select

Artificials, Inc., 169 F.3d 1131, 1136 (8th Cir.1999), that "[a]lthough contesting an unlawful

employment practice is protected conduct, the anti- discrimination statutes do not insulate an

employee    from discipline     for   violating    the   employer's   rules   or   disrupting   the

workplace." Plaintiff’s contract required her to follow the law and the suggestion that her

employer somehow has to demonstrate other examples taking the same action before it can act




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against her is entirely wrong as a matter of law. Such evidence and argument must be precluded

in limine.

DEFENDANT’S MOTION IN LIMINE NO. 30 TO EXCLUDE REFERENCES TO THE
   VIEWS OF HER LAWYER OR TO ARGUMENTS MADE BY HER LAWYER
  BECAUSE HE CANNOT SERVE AS A WITNESS IN THIS CASE WHILE ALSO
                      SERVING AS COUNSEL

        Plaintiff’s counsel, Dennis Egan, attended Plaintiff’s interview conducted by

Defendant’s Outside Investigator, Ann Molloy in May, 2018. Mr. Egan communicated with Ms.

Molloy in writing and on the phone and various such communications are reflected in Ms.

Molloy’s file. These communications include Mr. Egan’s comments on the evidence during the

investigation and his injection of issues surrounding the pending lawsuit into her

investigation. Ms. Molloy’s notes reflect that Mr. Egan interjected himself into the interview

and at times “answered questions for his client.” Further, the file includes various commentary

from Mr. Egan such as stating that various pieces of evidence were “fishy” and the like. Counsel

for Defendant sought Plaintiff’s counsel’s stipulation that he would not attempt to introduce

evidence that reflected his own commentary or opinions, but Plaintiff’s counsel refused to

stipulate.   Plaintiff’s lawyer’s communications with the outside investigator cannot be

introduced by Plaintiff as evidence because this would result in Plaintiff’s lawyer acting as

witness in this case. He cannot serve as both a witness and an advocate. The evidence must be

stricken as it would be unduly prejudicial under Rule 403.




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 Dated: December 21, 2018                   Respectfully submitted,



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                                CERTIFICATE OF SERVICE


       I hereby certify on this 21st day of December 2018, I filed the foregoing with the Clerk of

the Court using the CM/ECF system, which will notify the following counsel of record:

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